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 B 210A (Form 210A) (12/09)



                    UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF NEW YORK

 In re Lehman Brothers Holdings Inc., et al., Debtors.                  Case No. 08-13555 (JMP)
                                                                        (Jointly Administered)




                TRANSFER OF CLAIM OTHER THAN FOR SECURITY

 A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
 hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
 than for security, of the claim referenced in this evidence and notice.


 The Royal Bank of Scotland plc                      ANP Funding I, LLC
               Name of Transferee                                  Name of Transferor

 Name and Address where notices to transferee        Court Claim # (if known):14162
 should be sent:                                     Amount of Claim as Filed:$5,241,381.77
 The Royal Bank of Scotland plc                      Date Claim Filed:9/16/09
 600 Washington Blvd.                                Debtor: Lehman Brothers Holdings Inc.
 Stamford, CT 06901
 Attention: Matthew Rosencrans

 With a copy to:
 Richards Kibbe & Orbe LLP
 Attn: Managing Clerk
 One World Financial Center
 New York, NY 10281

 Phone: 203-897-2644                                 Phone:
 Last Four Digits of Acct #:                         Last Four Digits of Acct. #:


 Name and Address where transferee payments
 should be sent (if different from above):

 Phone:
 Last Four Digits of Acct #:




 636238.1/2620-00351
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